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                                          STATE OF NEW YORK
                                    OFFICE OF THE ATTORNEY GENERAL

    LETITIA JAMES                                                                    DIVISION OF STATE COUNSEL
    ATTORNEY GENERAL                                                                       LITIGATION BUREAU

BY ECF AND E-MAIL                                                                              October 15, 2020
The Honorable Katherine Polk Failla
United States District Court
Southern District of New York
40 Foley Square
New York, NY 10007
                                                                          MEMO ENDORSED
RE:      Park Insurance Co. v. Vullo, No. 18-cv-9628

Dear Judge Failla:

        This Office represents defendants Maria T. Vullo, sued solely in her individual capacity as
former Superintendent of Financial Services of the State of New York, and Linda Lacewell, sued
solely in her official capacity as current Superintendent of Financial Services of the State of New
York (collectively “Defendants”), in the above-referenced matter. 1 As the Court is aware, this
action is related to a proceeding that the New York State Department of Financial Services brought
in New York State Supreme Court to liquidate the plaintiff herein, Park Insurance Company
(“Plaintiff”), on multiple grounds specified in New York Insurance Law § 7402, pending before
Justice Shlomo Hagler (the “Liquidation Proceeding”).

       As directed by the Court on August 24, 2020, we write to provide a status update to the
Court regarding the Liquidation Proceeding.

        On September 22, 2020, Justice Hagler issued a Decision and Order (the “Liquidation
Order”) finding that, based on the 15-day trial held between December 2018 and September 2019,
the Superintendent had proven by a preponderance of the evidence that Park was insolvent as of
December 31, 2017 within the meaning of New York Insurance Law § 7402(a); and that Park had
not established its affirmative defense that it was solvent as of September 30, 2018. On that basis,
and without reaching the other statutory grounds relied upon by DFS, Justice Hagler ordered that
Park be placed into liquidation under Article 74 of the New York Insurance law. Justice Hagler’s
September 22, 2020 Liquidation Order is attached to this letter as Exhibit A.

       On September 23, 2020, Park filed a notice of appeal to the New York Supreme Court,
Appellate Division, First Department, and moved for a discretionary stay of the Liquidation Order
pending its appeal. The First Department issued an interim stay pending the parties’ full briefing

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 Pursuant to Fed. R. Civ. P. 25(d), to the extent that prospective injunctive relief is sought against
Superintendent Vullo in her official capacity, current Superintendent of Financial Services Linda
Lacewell is deemed to be substituted as Defendant.


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     on Park’s stay motion, which, inter alia, requires Park to seek approval from the Superintendent
     to engage in business transactions and permitting the Superintendent to begin collection and review
     of Park’s records. The First Department’s interim stay order (as modified on September 30, 2020)
     is attached to this letter as Exhibit B. The parties are currently briefing Park’s motion for a stay
     pending appeal. The motion is returnable before the First Department on Monday, October 19,
     2020.

              In light of the Liquidation Order and pending appeal, Defendants respectfully request that
     the Court continue its stay of proceedings pending the resolution of the appeal before the First
     Department. If Park is placed into liquidation, either because the stay motion is denied or the
     Liquidation Order is affirmed on appeal, Superintendent Lacewell, in her capacity as Liquidator,
     will immediately take control of Park’s business and assets, including all of Park’s “rights of
     action.” See N.Y. Ins. Law § 4705(b); Liquidation Order at p.14, ¶ 4. Under those circumstances,
     it will become the prerogative of the Liquidator to decide whether or not to continue this action,
     and if she declines to do so, there will be no need to move forward with briefing a motion to
     dismiss.

             Park does not join in the contents of this letter, but does agree that briefing should continue
     to be held in abeyance.

             Defendants appreciate the Court’s attention to this matter.


                                                            Respectfully submitted,

                                                            /s/ Matthew L. Conrad
                                                            Matthew L. Conrad
                                                            Assistant Attorney General
                                                            28 Liberty Street
                                                            New York, N.Y. 10005
                                                            (212) 416-6352

     cc:     Robert Lewin, Esq. (by ECF)

The Court is in receipt of the parties' status letter. Based on
Defendants' representations regarding the appeal process, the Court
agrees that an extension to the present stay is warranted. Therefore,
the Court ORDERS the parties to submit a status letter either upon the
resolution of the appeal before the First Department or by November 16,
2020, whichever is earlier.

Dated:       October 16, 2020                               SO ORDERED.
             New York, New York



                                                            HON. KATHERINE POLK FAILLA
                                                            UNITED STATES DISTRICT JUDGE
